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Step_hen M. Harris , Esq.
emaxl: steBhen mh-le a .com
LAW 0F ICE 0F sf _
6320 Cano a_Avenue Su;te1500
Woodland ls Ca11f0m1a91367
Telephqne: 81§? 924-3103

Facsmnle: 18 924-9079

 

State Bar Number: 1 10626)
PHEN M. HARRIS? P.C.

Robert L. Starr, Es . (State Bar Number: 183052)

email: robert@starr aw.corn

Adam M. Rose, Esq. (State Bar Number: 210880)

§[r_lr_ilz!i£iliadamAW @starrlaw.c

23277 Ventura Boulevard

Woodland Hills Califomia 91364

Teleph<_)ne: 81§ 225-9040
acsum e: -

F l 818 225 9042

Attome s for Plaintiff
msH¥ua

om
FICE OF ROBERT L. STARR, APC

RREMANS, indivic_hla_lly, and on behalf
of a class of slrrularly sltuated mdlvxduals

,, UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

TRISH HERREMANS, individually, and

on behalf of a class of similarly situated
indlviduals,

Plaintiff,
v.
BMW OF NORTH AMERICA, LLC,
Defendant.

 

 

No. cv14~2363 MMM(PJWX)

Assi ed for All Purposes to
the }§gnorable George H. Wu

Date: November 28, 2016
Time: 8:30 a.m.
Ctrm: 10

NoTICE oF MoTIoN AND
Mo'rloN FoR FINAL
APPROVAL OF CLASS ACTIoN
SETTLEMENT~ MEMoRANDUM
oF PoIN'rs AN’D AUTHORITES

TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
PLEASE TAKE NOTICE THAT on November 28, 2016, at 10:00 a.m., or as
soon thereafter as the matter may be heard in Courtroom 10 of the above-entitled

 

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Court, located at 312 North Spring Street, Los Angeles, CA 90012, Plaintiff Trish
Herreinans ("Plaintift" or “Herremans”) will and hereby do move this Count,
pursuant to F ederal Rule of Civil Procedure Rule 23 for an Order finally approving
the class action settlement agreed to by the parties in this matter.

This Motion is based upon: (1) this Notice of Motion and Motion; (2) the
attached Memorandum of Points and Authorities in Support of Motion for Final
Approval of Class Action Settlement; (3) the Declaration of Stephen M. Harris; the
Decla;ration of Jennifer McNulty, the declaration of Ann Haan, the declaration of
Plaintiff; (4) the [Proposed] Order Granting Final Approval of Class Action
Settlement, filed concurrently herewith; (5) the records, pleadings, and papers filed
in this action; and (6) upon such other documentary and oral evidence or argument as
may be presented to the Count at the hearing of this Motion.

This motion was not preceded by a meet and confer conference with defense

counsel pursuant to Local Rule 7-3 since Defendant does not oppose the motion

Dated: November 7, 2016 IISAéW OFFICES OF STEPHEN M. HARRIS,

By; /s/ Stephen M. Hg[__ris

Stephen M. Harri_s _

Attorne§Efor Plaintiff

TRlS_H RREMANS

indi_vidually, _and on behalf of a class
of similarly situated individuals

 

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MEMORANDUM OF POINTS AND AUTHORITIES
' I. '
lNTRODUCTION

Herremans brings this action on behalf of a nationwide class of current and
former owners and lessees of certain Mini Cooper Vehicles, with a production date
from October of 2006 through November of 2012, which were distributed by BMW
of North America, L'LC (“BMW”). She alleges that defects in the design,
manufacture, and assembly of mechanical water pumps installed in the class vehicles
resulted in the engine overheating and potential catastrophic engine failure of the
Class Vehicles. Plaintiff further alleges that the water pump failure is due to the
sealed two roll ball bearing system installed in the mechanical water pumps (“Water
Pump Defect”) (Docket No. 58-5, Fourth Amended Complaint [“FAC”] 1111 4-8.)

Plaintiti` and BMW settled the nationwide class claims and the court granted
preliminary approval of the settlement on March 18, 2016. As part of the settlement,
BMW has agreed to reimburse all class members who have, or will, incur costs in
connection with repairing or replacing failed mechanical water pumps. BMW’s
obligations are based upon the payment and reimbursement provisions of the
Agreement, more fully described below and in the Agreement attached as exhibit l.
(See, Exhibit l to Harris Declaration).

Plaintiff now moves for final approval of the settlement 'I'he settlement .
provides Class Members with remedies similar to what they could expect to receive
if the case were successfully tried, but without the delay and risks associated with
trial, and it should therefore be approved

The claims administrator mailed notice to 594,091 potential class members,
and states that there have been to date 4,883 claims which have been received, with
2,141 found to be in good order to pay. 'l`hese 2,141 claims have an award value of
$l,006,931.20. There are 2,741 claims which are not yet deemed in good order. 'I'he
value of these claims, assuming a claim value of 470.31, is 81,289,116.49. To date,

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